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      FILED & JUDGMENT ENTERED
                Steven T. Salata




            March 8 2018


        Clerk, U.S. Bankruptcy Court
       Western District of North Carolina
                                                                           _____________________________
                                                                                    J. Craig Whitley
                                                                             United States Bankruptcy Judge


                                 UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF NORTH CAROLINA
                                       CHARLOTTE DIVISION

IN RE:
                                                                    CASE NO. 18-30241
BK RACING, LLC
                                                                       CHAPTER 11
                          Debtor.


INTERIM ORDER (A) AUTHORIZING LIMITED USE OF CASH COLLATERAL AND
   PAYMENT OF CERTAIN PRE-PETITION WAGES AND PAYROLL TAXES, (B)
GRANTING ADEQUATE PROTECTION TO PREPETITION SECURED CREDITORS,
 (C) PARTIALLY DETERMINING THE EMERGENCY MOTION OF RACE ENGINES
      PLUS, LLC FOR ORDER SHORTENING THE TIME FOR ASSUMING OR
        REJECTING LEASE WITH RACE ENGINES PLUS, LLC OR, IN THE
ALTERNATIVE, MOTION FOR RELIEF FROM STAY TO CANCEL LEASE, AND (D)
   CONTINUING HEARING ON EMERGENCY MOTION OF CHAMPION TIRE &
   WHEEL, INC. TO COMPEL DEBTOR’S ASSUMPTION OR REJECTION OF AN
    EXECUTORY CONTRACT, OR ALTERNATIVELY, FOR RELIEF FROM THE
               AUTOMATIC STAY TO TERMINATE CONTRACT

           This matter came before the Court on (A) Debtor BK Racing, LLC’s (the “Debtor”)

Emergency Motions for Order Authorizing I) the Use of Cash Collateral Pursuant to Sections

361 and 363 of the Bankruptcy Code; II) the Payment of Pre-petition Payroll and Payroll Taxes

filed on February 23, 2018 [D.E. 28] (the “Debtor’s Motions”), (B) the Emergency Motion of

Race Engines Plus, LLC (“REP”) for Order Shortening the Time for Assuming or Rejecting

Lease with Race Engines Plus, LLC or, in the Alternative, Motion for Relief from Stay to Cancel

Lease filed on February 21, 2018 [D.E. 17] (the “REP Motion”), and (C) the Emergency Motion



	
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of Champion Tire & Wheel, Inc. (“Champion”) to Compel Debtor’s Assumption or Rejection of

an Executory Contract, or Alternatively, for Relief from the Automatic Stay to Terminate

Contract filed on February 21, 2018 [D.E. 25] (the “Champion Motion”). These motions

described above (collectively, the “Motions”) came before the Court for interim hearings on

February 23, 2018 and February 27, 2018 (each, an “Interim Hearing” and, collectively, the

“Interim Hearings”) on limited and expedited notice to interested parties via ECF noticing.

           Based on a review of the Court file, the submissions of the parties, and the arguments of

counsel, the Court finds and concludes as follows:

           1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. Venue of this case and the Motions in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409. These matters are core proceedings pursuant to 28 U.S.C. §§ 157(b)(2).

           2.     The Debtor filed a voluntary petition for relief under chapter 11 of title 11 of the

United States Code (the “Bankruptcy Code”) in this Court on February 15, 2018 (the “Petition

Date”). The Debtor continues in possession of its properties and the management of its business

as a debtor-in-possession pursuant to Bankruptcy Code §§ 1107 and 1108.

           3.     As of the Interim Hearings, no creditors committee had been appointed in this

case.

           4.     Union Bank & Trust (“UBT”) alleges that before the Petition Date, it loaned more

than $12,000,000 to Ronald C. Devine (“Devine”) and certain of his related entities. UBT alleges

that Devine owns directly or indirectly through certain of his affiliates approximately 75% of the

Debtor. UBT’s loans to Devine and certain of his related entities (collectively, the “Loans”)

were evidenced by certain promissory notes (collectively, the “Notes”), true and correct copies

of which were attached as Exhibit A to the Objection of Union Bank & Trust to Debtor’s



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Emergency Motions for Order Authorizing I) the Use of Cash Collateral pursuant to Sections

361 and 363 of the Bankruptcy Code; II) the Payment of Pre-Petition Payroll and Payroll Taxes

filed on February 26, 2018 [D.E. 32] (“UBT’s Cash Collateral Objection”).

           5.   UBT alleges that before the Petition Date, the Debtor guaranteed the obligations

under the Loans pursuant to written guaranties executed by the Debtor in favor of UBT

(collectively, the “Guaranties”), true and correct copies of which were attached as Exhibit B to

UBT’s Cash Collateral Objection.

           6.   UBT alleges that before the Petition Date, the Debtor executed written security

agreements in favor of UBT (collectively, the “Security Agreements,” and together with the

Notes and Guaranties, the “Loan Documents”), true and correct copies of which were attached as

Exhibit C to UBT’s Cash Collateral Objection. UBT alleges that pursuant to those Security

Agreements, the Debtor granted to UBT a first-priority security interest in all of its assets,

whether then existing or thereafter acquired by the Debtor, and in “all products and produce” and

“all proceeds . . . from the sale . . . or other disposition” of any of the collateral (as more

particularly described in the Security Agreements, the “Collateral”).

           7.   UBT alleges that it caused to be filed and properly recorded in the Office of the

North Carolina Secretary of State a UCC1 financing statement and a UCC3 financing statement

evidencing and perfecting its liens on the Collateral, true and correct copies of which were

attached as Exhibit D to UBT’s Cash Collateral Objection.

           8.   UBT claims an interest in, among other things, all of the Debtor’s cash, the

Debtor’s income and revenues from whatever source either paid or to be paid to the Debtor, and

the proceeds, products, offspring or profits thereof within the meaning of Bankruptcy Code

§§ 363 and 552(b). The Debtor contends that certain other creditors of the Debtor, including the



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Internal Revenue Service, Ronald G. Ingalls and Virginia Racers Group, LLC (collectively with

UBT, the “Secured Creditors” and any one of them, singly, a “Secured Creditor”), may also have

an interest in such cash, income and revenues, and the proceeds, products, offspring or profits

thereof.

           9.    Notice of the Motions and the Interim Hearings was provided to all interested

parties in accordance with Federal Rule of Bankruptcy Procedure 4001(b)(1)(C).

           10.   Under Federal Rule of Bankruptcy Procedure 4001(b)(2), the Court is permitted

to conduct a preliminary hearing on the Debtor’s Motions to the extent they seek authority to use

cash collateral, but the Court may authorize the use of only the amount of cash collateral as is

necessary to avoid immediate and irreparable harm to the Debtor’s estate pending a final hearing.

           11.   The Debtor’s use of its cash, revenues and income from whatever source, whether

paid or to be paid to the Debtor, and the proceeds, products, offspring or profits thereof, to the

extent that they constitute “cash collateral” under Bankruptcy Code § 363 (referred to in this

Interim Order as “Cash Collateral,” although not expressly determined to be cash collateral

within the meaning of Bankruptcy Code § 363 at this time) on a preliminary and interim basis in

accordance with the terms and conditions set forth herein, as well as the payment of certain pre-

petition payroll and payroll taxes, appears to be in the best interest of the estate and its creditors

and is necessary to avoid immediate and irreparable harm to the Debtor’s estate pending the

Continued Hearing (as defined below).

           12.   At the February 23, 2018 Interim Hearing, the Debtor tendered the weekly budget

attached hereto as Exhibit A (the “Budget”).

                                February 23, 2018 Interim Hearing




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           Based on the record and the arguments of counsel at the Interim Hearing on February 23,

2018, IT IS ORDERED, ADJUDGED and DECREED that:

           A.     The Debtor is authorized to pay the pre-petition wages and all social security tax,

Medicare, unemployment insurance and any other associated taxes which are required by law, all

as shown on Exhibit B attached hereto, as requested in the Debtor’s Motions (collectively, the

“Pre-petition Wages”) .

           B.     Subject to the terms and conditions set forth herein, the Debtor may use Cash

Collateral to pay the Pre-petition Wages and may further use Cash Collateral during the period

beginning February 23, 2018, and continuing through and including February 26, 2018, in the

ordinary course of its business for the payment of (1) the sum of $35,000.00 to REP for the

services to be rendered to the Debtor for the Monster Energy NASCAR Cup Series Race at the

Atlanta Motor Speedway (the “Atlanta REP Payment”) described in the engine lease agreement

attached to the REP Motion,1 and (2) the sum of $11,304 to Champion for the three (3) Monster

Energy NASCAR Cup Series Races at the Las Vegas Motor Speedway, the ISM Raceway in

Phoenix, Arizona, and the Auto Club Speedway in Fontana, California (the “Champion

Payment”); provided, that if Devine, or some other person or entity other than the Debtor, makes

any such payment on the Debtor’s behalf or makes a loan to the Debtor, without this Court’s

authority, to enable the Debtor to make such payment, the Debtor is not herein authorized to use




																																																													
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   At the February 23, 2018 Interim Hearing, the Debtor represented to the Court that REP had received
$50,000 following the Petition Date (as defined in this Order) in connection with the engine lease
agreement between the Debtor and REP. At that hearing, with REP’s consent, UBT reserved the right to
assert that REP should not be entitled to payment of any other Cash Collateral until the $50,000 payment
received by REP had been credited against the post-petition payments under the engine lease agreement.
At the February 27, 2018 Interim Hearing, REP agreed to apply the $50,000 payment to the Debtor’s
post-petition obligations under the engine lease agreement, which will be set forth in a separate Order of
this Court.

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Cash Collateral in connection with such payment or to use Cash Collateral to pay Devine, or

such other person or entity, in connection with any such loan or such payment so made.

           C.      As adequate protection for the Secured Creditors’ claimed interests in Cash

Collateral, to the extent the Debtor used such Cash Collateral between February 23, 2018 and

February 26, 2018, and the value of the Secured Creditors’ claimed interest in their respective

collateral was diminished as a result of such use, the Secured Creditors are granted valid,

attached, choate, enforceable, perfected and continuing security interests in, and liens upon all

post-petition assets of the Debtor of the same character and type (collectively, the “Post-Petition

Collateral”), to the same extent and validity as the liens and encumbrances of the Secured

Creditors on the Debtor’s assets pre-petition. The Secured Creditors’ claimed security interests

in, and liens upon, the Post-Petition Collateral shall have the same validity as existed between

the Secured Creditors, the Debtor and all other creditors or claimants against the Debtor’s estate

on the Petition Date. With respect to the post-petition liens and security interests granted by this

Order, the Secured Creditors may, but need not, take such steps as are reasonably necessary to

perfect the same, and all filed financing statements or other documents listing Debtor as

borrower and each of the Secured Creditors as a secured party shall be deemed to have been filed

and the post-petition liens and security interests granted herein shall be deemed to have been

perfected on the Petition Date, subject to the provisions of paragraph O below.

           D.      In addition to the adequate protection provided in the preceding paragraph and as

a condition to using any Cash Collateral pursuant to this Order, the Debtor shall also:

                1. Immediately, but on or before the February 27, 2018 Interim Hearing, deliver to
                   the trust account of its counsel, The Henderson Law Firm (the “Trust Account”),
                   all revenue, other income and Cash Collateral arising from the NASCAR races in
                   Daytona held February 15 – 18, 2018, other than the sum of $100,000 which the
                   Debtor is permitted to deposit and retain in a segregated debtor in possession
                   account (the “Cash Collateral Account”) to use in accordance with the authority

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                   granted by the Court at the February 23, 2018 Interim Hearing, with The
                   Henderson Law Firm to (a) deliver evidence of its receipt thereof in accordance
                   with paragraph L below and (b) retain such funds in the Trust Account pending
                   further order of the Court or agreement of the Secured Creditors;

                2. Employ a recognized payroll service, by March 12, 2018, that will process future
                   payroll; and

                3. Provide proof to the Internal Revenue Service that it has either paid the required
                   pre-petition payroll taxes or that they are escrowed in a segregated bank account,
                   with such proof to be served with the reports contemplated herein.

           E.      At the February 23, 2018 Interim Hearing, the Debtor requested authority to use

Cash Collateral to pay (1) the Pre-Petition Wages, and (2) $60,000 of other expenses set forth on

the Budget for the Monster Energy NASCAR Cup Series Race at the Atlanta Motor Speedway,

including the Atlanta REP Payment and the Champion Payment. Subject to the provision of

adequate protection set forth in the two preceding paragraphs, UBT consented to the Debtor’s

use of Cash Collateral only to pay the Pre-Petition Wages, the Atlanta REP Payment, and

Champion Payment. The Debtor did not specify how the remaining funds from the $60,000 (after

the Atlanta REP Payment and Champion Payment were paid) would be allocated among the

other expenses set forth on the Budget, and UBT did not consent to the Debtor’s use of those

remaining funds (such remaining funds, collectively, the “Disputed Funds”). At the February 27,

2018 Interim Hearing, the Debtor and UBT advised the Court of their disagreement about

whether the Court authorized at the February 23, 2018 Interim Hearing, over UBT’s objection,

the Debtor’s use of the Disputed Funds, but the Debtor advised the Court at the February 27,

2018 Interim Hearing that it had spent the Disputed Funds. The Court will reserve ruling on the

parties’ disagreement about the Disputed Funds until later in this case and enters this Interim

Order without prejudice to the claims, rights, and defenses that the Debtor, UBT and/or any other

party in interest may have regarding the Debtor’s use of the Disputed Funds, and such claims,

rights and defenses are expressly reserved.

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                                 February 27, 2018 Interim Hearing

           Based on the record and the arguments of counsel at the Interim Hearing on February 27,

2018 (including the acknowledgement by the Debtor that it had not transferred any funds to the

Trust Account as ordered at the February 23, 2018 Interim Hearing),2 IT IS FURTHER

ORDERED, ADJUDGED and DECREED that:

           F.     Subject to the terms and conditions herein, the Debtor may use Cash Collateral

during the period beginning February 27, 2018, and continuing through and including March 22,

2018, in the ordinary course of its business for the payment of those business expenses

specifically described in the Budget not to exceed the limit for each week for each business

expense category listed on the Budget, taking into account Cash Collateral used to make the

Atlanta REP Payment and Champion Payment as authorized at the February 23, 2018 Interim

Hearing; provided, that if Devine, or some other person or entity other than the Debtor, makes

any such payment on the Debtor’s behalf or makes a loan to the Debtor, without this Court’s

authority, to enable the Debtor to make such payment, the Debtor is not herein authorized to use

Cash Collateral in connection with such payment or to use Cash Collateral to pay Devine, or

such other person or entity, in connection with any such loan or such payment so made.

           G.     The Debtor shall deposit all cash collateral into the Cash Collateral Account and

shall not use, sell, transfer or expend, directly or indirectly, any Cash Collateral, except as

authorized in this Interim Order.

           H.     The Debtor’s authority to use Cash Collateral in accordance with the terms and

conditions set forth herein shall terminate on the earlier to occur of: (1) the Debtor’s failure to

comply with any of the terms and conditions set forth herein, and (2) at 11:59 p.m. on March 22,
																																																													
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   Notwithstanding the relief granted in this Interim Order, UBT reserves all of its arguments, rights and
remedies with respect to the Debtor’s failure to deposit funds into the Trust Account as ordered at the
February 23, 2018 Interim Hearing.

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2018, unless the Court authorizes the further use of Cash Collateral at the Continued Hearing on

the Debtor’s Motions or unless the Secured Creditors otherwise consent in writing. Even if

authorization to use cash collateral terminates or expires, the adequate protection and liens

provided in this Interim Order will continue to be effective unless or until otherwise modified by

the Court.

           I.   As adequate protection for the Secured Creditors’ claimed interests in Cash

Collateral, to the extent the Debtor uses such Cash Collateral on and after February 23, 2018 (in

accordance with the terms and conditions set forth herein), and the value of the Secured

Creditors’ claimed interest in their respective collateral is diminished as a result of such use, the

Secured Creditors are granted valid, attached, choate, enforceable, perfected and continuing

security interests in, and liens upon all the Post-Petition Collateral, to the same extent and

validity as the liens and encumbrances of the Secured Creditors on the Debtor’s assets pre-

petition. The Secured Creditors’ security interests in, and liens upon, the Post-Petition Collateral

shall have the same validity as existed between the Secured Creditors, the Debtor and all other

creditors or claimants against the Debtor’s estate on the Petition Date. With respect to the post-

petition liens and security interests granted by this Order, this Order is sufficient and conclusive

evidence of the priority and validity of such security interests and liens, including replacement

liens, upon the Post-Petition Collateral without the necessity of filing, recording, or serving any

financing statements or other documents which may otherwise be required under federal or state

law in any jurisdiction or the taking of any action to validate or perfect the security interests and

liens granted to secured creditor, but the Secured Creditors may, but need not, take such steps as

are reasonably necessary to perfect the same, and all filed financing statements or other

documents listing Debtor as borrower and each of the Secured Creditors as a secured party shall



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be deemed to have been filed and the post-petition liens and security interests granted herein

shall be deemed to have been perfected on the Petition Date, subject to the provisions of

paragraph O below.

           J.      As additional adequate protection for the Secured Creditors’ claimed interests in

Cash Collateral, to the extent the Debtor uses such Cash Collateral on and after February 23,

2018 (in accordance with the terms and conditions set forth herein), each Secured Creditor is

granted a super-priority claim under Bankruptcy Code § 507(b) to the extent the adequate

protection granted in paragraphs C and I proves to be inadequate.

           K.      In addition to the adequate protection provided above and as a condition to using

any Cash Collateral pursuant to this Order, the Debtor shall also:

                1. Deliver in accordance with paragraph L below:

                       i. A detailed budget by week for each of the then-remaining weeks in the
                          2018 Monster Energy NASCAR Cup Series race season, to be delivered
                          by 12:00 Noon prevailing Charlotte time on March 7, 2018;

                      ii. A detailed weekly budget in form reasonably acceptable to UBT setting
                          forth a line item for each category of income or revenue (e.g., prize
                          money, sponsorship and each other category of income) and for each
                          category of expenses (e.g., payroll, payroll-related taxes, other payroll-
                          related expenses, driver payment, payments for the pit crew, engine lease,
                          tire purchase, fuel for the race team operated by the Debtor, fuel for the
                          haulers of the Debtor’s equipment, rental of pit equipment, hotels, rental
                          cars, airfare, per diem, meals, other travel-related expenses, advertising,
                          competition entry fees, other NASCAR credential-related expenses,
                          insurance, equipment rent, real property rent and any other expenses) to be
                          delivered by 12:00 Noon prevailing Charlotte time each Wednesday for
                          the week beginning at 12:00 a.m. on the immediately preceding Monday
                          and ending at 11:59 p.m. the following Sunday (with the first such weekly
                          budget to be delivered by 12:00 Noon prevailing Charlotte time on March
                          7, 2018);

                      iii. A detailed report for the previous week in a form consistent with the
                           weekly budget set forth above reflecting (i) actual income, revenues and
                           expenses, (ii) budgeted income, revenues and expenses and (iii) the
                           amount of variance for each category set forth thereon, to be delivered by
                           12:00 Noon prevailing Charlotte time each Wednesday (with the first such

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                  report to be delivered by 12:00 Noon prevailing Charlotte time on March
                  14, 2018);

              iv. A detailed cumulative report for the post-petition time period in a form
                  consistent with the weekly budget set forth in paragraph K(1)(ii) above
                  reflecting (i) actual income, revenues and expenses, (ii) budgeted income,
                  revenues and expenses and (iii) the amount of variance for each category
                  set forth thereon, to be delivered by 12:00 Noon prevailing Charlotte time
                  each Wednesday (with the first such report to be delivered by 12:00 Noon
                  prevailing Charlotte time on March 7, 2018);

              v. A detailed weekly cash receipts report reflecting prize money, other
                 NASCAR payments, sponsorship funds, other income by category, loan
                 proceeds received by or paid on behalf of the Debtor and capital
                 contributions to the Debtor, to be delivered by 12:00 Noon prevailing
                 Charlotte time each Wednesday for the week beginning at 12:00 a.m. the
                 immediately preceding Monday and ending at 11:59 p.m. the following
                 Sunday (with the first such weekly report to be delivered by 12:00 Noon
                 prevailing Charlotte time on March 7, 2018);

              vi. A detailed weekly cash disbursements report reflecting all cash disbursed
                  by or on behalf of the Debtor reflecting the different categories of
                  expenses included in the weekly budget described in paragraph K(1)(ii)
                  above, to be delivered by 12:00 Noon prevailing Charlotte time each
                  Wednesday for the week beginning at 12:00 a.m. the immediately
                  preceding Monday and ending at 11:59 p.m. the following Sunday (with
                  the first such weekly report to be delivered by 12:00 Noon prevailing
                  Charlotte time on March 7, 2018);

             vii. A report (or print-out from the bank at which the Debtor has its debtor in
                  possession accounts) showing all transactions with respect to such
                  account(s), to be delivered by 12:00 Noon prevailing Charlotte time each
                  Wednesday for the preceding week beginning at 12:00 a.m. the
                  immediately preceding Monday and ending at 11:59 p.m. the following
                  Sunday (with the first such report to be delivered by 12:00 Noon
                  prevailing Charlotte time on March 7, 2018);

             viii. A copy of each written sponsorship or partnership agreement between the
                   Debtor and any of its sponsors or partners existing as of February 28,
                   2018, to be delivered by 12:00 Noon prevailing Charlotte time on March
                   7, 2018;

              ix. If the Debtor does not have or has not entered into any written sponsorship
                  or partnership agreement as described in paragraph K(1)(viii) above, a
                  writing certified by an officer of the Debtor containing information
                  relating to each sponsorship or partnership in sufficient detail to enable
                  UBT to determine the name of the sponsor or partner, the consideration

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                        received or to be received by the Debtor, the timing of such consideration
                        and the term of such agreement and any documents or written
                        communications evidencing such agreement, to be delivered by 12:00
                        Noon prevailing Charlotte time on March 7, 2018;

                    x. If the Debtor enters into any sponsorship or partnership agreement after
                       February 28, 2018, a copy of each written sponsorship or partnership
                       agreement or a writing more particularly set forth in paragraph K(1)(ix)
                       above, to be delivered by 12:00 Noon prevailing Charlotte time on the
                       third (3rd) business day after the date of such sponsorship or partnership
                       agreement;

                   xi. A copy of the Debtor’s actual historical financial information for 2017 at
                       least as detailed in form and substance as the financial information
                       provided by the Debtor to UBT for 2015 and 2016, certified by an officer
                       of the Debtor, to be delivered by 12:00 Noon prevailing Charlotte time on
                       March 12, 2018;

                   xii. A detailed income statement/profit and loss statement (on an accrual basis)
                        for 2017 at least as detailed in form and substance as the financial
                        information provided by the Debtor to UBT for 2015 and 2016, certified
                        by an officer of the Debtor, to be delivered by 12:00 Noon prevailing
                        Charlotte time on March 12, 2018;

                  xiii. A detailed balance sheet as of December 31, 2016 and December 31,
                        2017, at least as detailed in form and substance as the financial
                        information provided by the Debtor to UBT for 2015, certified by an
                        officer of the Debtor, to be delivered by 12:00 Noon prevailing Charlotte
                        time on March 12, 2018;

                  xiv. A copy of its income tax returns for 2015, 2016, and 2017, if completed,
                       to be delivered by 12:00 Noon prevailing Charlotte time on March 12,
                       2018;

            2. Immediately, but in no event after 2:00 p.m. prevailing Charlotte time on March
               8, 2018, deliver by wire or electronic funds transfer into the Trust Account no less
               than the sum of $358,000 constituting the cash received by the Debtor on
               February 23, 2018, arising from the NASCAR races in Daytona held February 15
               – 18, 2018, with The Henderson Law Firm to (a) deliver evidence of its receipt
               thereof in accordance with paragraph L below and (b) retain such funds in the
               Trust Account pending further order of the Court or agreement of the Secured
               Creditors. To the extent some or all of these funds have been dissipated, the
               Debtor is ordered to turn over the remaining funds and provide an accounting of
               what was spent.3

																																																													
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   Following the hearings, the parties reached an impasse on the language of the proposed order. In
relaying the disposition to the Court, it became apparent that the parties were not of the same

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                      3. On or before 5:00 p.m. prevailing Charlotte time each Monday after entry of this
                         Interim Order, deliver by wire or electronic funds transfer to the Trust Account all
                         income and revenues received each preceding week, other than funds necessary to
                         pay, when due, the expenses reflected on the Budget in accordance with the
                         authority granted by the Court, and (a) deliver evidence of its receipt thereof in
                         accordance with paragraph L below and (b) retain such funds in the Trust
                         Account pending further order of the Court or agreement of the Secured
                         Creditors; and

                      4. Allow UBT to conduct a physical inventory of all of the Debtor’s “hard assets”
                         (e.g., the Debtor’s race cars, haulers, tractors, race car components, equipment) at
                         a mutually convenient time no later than March 19, 2018.

              L.             The Debtor shall serve the reports and other documentation required in

paragraphs D(3) and K(1) - (3) above by electronic mail on the following parties in interest: (1)

the United States Bankruptcy Administrator for the Western District of North Carolina (the

“Bankruptcy Administrator”), (2) Deborah Harris, Bankruptcy Specialist, IRS; (3) James

Sullivan, Assistant U.S. Attorney, (4) David M. Schilli and Annemarie DiNardo Cleary, counsel

for UBT, and (5) any other Secured Creditor requesting delivery thereof.

              M.             This Interim Order is without prejudice to the rights of a Secured Creditor or other

creditors to seek additional adequate protection or other relief available under the Bankruptcy

Code or other applicable law or the applicable Loan Documents. Nothing contained herein shall

be construed or interpreted as consent by any Secured Creditor to entry of a further interim or

final order authorizing the use of Cash Collateral, and entry of this Interim Order is without

prejudice to the rights of any Secured Creditor to challenge or otherwise contest entry of any

subsequent order authorizing the use of Cash Collateral.

              N.             This Interim Order is also entered without prejudice to: (a) the claims, rights, and

defenses that the Debtor and/or any other party in interest may have to challenge the nature,

																																																																																																																																																																																																				
understanding of the terms of the undersigned’s bench order. As a result, some of the cash received from
the race in Daytona may have been spent without either the consent of UBT or prior authorization from
the Court.

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validity, priority or extent of the claim and/or liens asserted by a Secured Creditor; and (b) any

and all claims, rights, and defenses a Secured Creditor may assert in any action to challenge the

nature, validity, priority or extent of the liens it may assert.

           O.   The automatic stay of Bankruptcy Code § 362(a) is hereby modified, terminated,

and vacated as to each Secured Creditor to the extent necessary and appropriate to effectuate the

provisions of this Order, including, without limitation, to allow each Secured Creditor in its

discretion to evidence and perfect its security interest in and lien upon the Post-Petition

Collateral (although it is specifically agreed that no filing or recordation is necessary in order for

each Secured Creditor to have a duly perfected security interest in and lien upon the Post-Petition

Collateral).

           P.   Except as expressly modified herein, all terms, conditions and covenants of the

Loan Documents shall remain in full force and effect, and nothing herein shall constitute a

waiver or forgiveness by UBT of existing defaults by the Debtor under the terms of the Loan

Documents.

           Q.   This Order does not necessarily constitute adequate protection of the Secured

Creditors’ purported interest in the Cash Collateral, and the Secured Creditors expressly reserve

their respective rights under Bankruptcy Code §§ 361, 362, and 363.

           R.   Other than as set forth in paragraphs B and F above, the Court will enter a

separate Order determining the remainder of the REP Motion.

           S.   Pursuant to Rule 4001(b) of the Federal Rules of Bankruptcy Procedure, a final

hearing on the use of Cash Collateral, and a continued hearing on the Champion Motion, shall be

held on March 22, 2018, at 2:00 p.m. (the “Continued Hearing”), in Courtroom 1-4 of the United

States Bankruptcy Court, Charles R. Jonas Federal Building, 401 West Trade Street, Charlotte,



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North Carolina 28202; provided, however, a party may request an expedited hearing before the

Continued Hearing to pursue its remedies and seek relief based on the Debtor’s failure to comply

with the terms and conditions of this Order.

           T.   The Debtor is directed to serve a copy of this Order upon: (a) the Bankruptcy

Administrator, (b) the Debtor’s twenty (20) largest unsecured creditors, (c) the Secured

Creditors, and (d) those parties requesting notice pursuant to Bankruptcy Rule 2002 immediately

after its entry and shall file a certificate of service specifying the manner and method of service.




This Order has been signed electronically. The                      United States Bankruptcy Court
judge’s signature and court’s seal appear at the top of
the Order.




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